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                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT LLC,           )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )      Case No.: 5:18-CV-01983-LCB
                                   )
TENNESSEE VALLEY                   )           ORAL ARGUMENT
AUTHORITY,                         )             REQUESTED
                                   )
     Defendant.                    )
                                   )


                  DEFENDANT’S BRIEF IN SUPPORT OF
                  MOTION FOR SUMMARY JUDGMENT

                            (REDACTED)
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      Defendant Tennessee Valley Authority (“TVA”) submits this brief in support

of its motion for summary judgment against Plaintiff Nuclear Development, LLC

(“ND”) pursuant to Fed. R. Civ. P. 56.

                                INTRODUCTION

      TVA could not close on the sale of the Bellefonte Nuclear Plant Site

(“Bellefonte Site”) to ND because the sale would have caused TVA to be in violation

of the construction permits issued to it by the predecessor to the Nuclear Regulatory

Commission (“NRC”). Such permit violations are violations of law. The contract

between TVA and ND contained a condition precedent that precluded closing if any

law or permit meant that the transfer of the Bellefonte Site to ND would be illegal.

Because that condition precedent had not been satisfied at the time of the closing,

TVA did not breach the contract by refusing to close. Accordingly, summary

judgment should be entered in favor of TVA on both of ND’s breach-of-contract

counts (Counts One and Three).

      Summary judgment should also be entered in TVA’s favor on ND’s remaining

count seeking a preliminary injunction (Count Two).            The entry of summary

judgment on the substantive breach-of-contract counts will render moot the request

for a preliminary injunction. In addition, because the breach-of-contract counts fail

as a matter of law, ND cannot establish a likelihood of success on the merits, so any

request for preliminary-injunction fails as a matter of law.

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      Although the Court need not reach the issue of damages if it enters summary

judgment on ND’s claims, summary judgment is also due to be entered in TVA’s

favor disallowing the incidental damages sought by ND. TVA and ND agreed in the

applicable contract that no party can recover incidental damages, yet ND wants to

disregard that provision.

      Summary judgment should also be entered on ND’s claim for attorneys’ fees.

Under the American Rule, parties typically bear their own attorneys’ fees, and ND

has identified no statutory or contract provision that overrides that rule.

                    STATEMENT OF UNDISPUTED FACTS

Background Facts

      1.     The Bellefonte Site in Jackson County, Alabama, which contains two

partially finished nuclear reactors, is owned by the United States and is in the custody

of TVA. Ex. 1 (Declaration of C. Chandler) at ¶ 2; see also 18 U.S.C. § 831c(h) (All

real property (e.g., power plant sites) acquired by TVA to accomplish the purposes

of the TVA Act is acquired and held in the name of the United States and is

“entrusted to [TVA] as the agent of the United States.”).




                                           2
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          2.   The Atomic Energy Commission (“AEC”), the predecessor to the

NRC,1 issued to TVA two construction permits to construct the nuclear reactors (the

“Construction Permits”) at the Bellefonte Site. Ex. 1 at ¶ 3 & App. 1.2

          3.   The Construction Permits were issued pursuant to Section 103 of the

Atomic Energy Act of 1954, 42 U.S.C. § 2133, and 10 CFR Part 50. Ex. 1 at App.

1, § 2.

          4.   ND and TVA entered into the Bellefonte Nuclear Plant Site Purchase

and Sales Agreement on November 14, 2016 (“Agreement”), whereby ND would

purchase the Bellefonte Site. Doc. 1-1 (attached hereto as Exhibit 2).

          5.   ND and TVA amended the Agreement so that the closing was to occur

on November 30, 2018. Doc. 1-4 (attached hereto as Exhibit 3).

          6.   TVA and ND agreed in the Agreement that “federal law shall at all

times govern the validity, interpretation, and enforceability of th[e Agreement],”


1
    Pursuant to the Energy Reorganization Act of 1974, Congress abolished the
Atomic Energy Commission and transferred its licensing and regulatory functions
to the NRC. 42 U.S.C. §§ 5814(a)-(f), 5841(f).
2
    The Construction Permits are available on the NRC’s website. See
https://adamswebsearch2.nrc.gov/webSearch2/main.jsp?AccessionNumber=ML11
1110111. The Court may take judicial notice of federal agency records available on
government websites. See, e.g., RSB Ventures, Inc. v. F.D.I.C., 514 Fed. App’x 853,
856 n.2 (11th Cir. 2013) (taking judicial notice of information found on FDIC
website); Said v. Nat’l R.R. Passenger Corp., 317 F. Supp. 3d 304, 335 n.20 (D.D.C.
2018) (taking judicial notice of information from “official public websites” at
summary judgment stage); Navelski v. Int’l Paper Co., 244 F. Supp. 3d 1275, 1300
n.25 (N.D. Fla. 2017) (taking judicial notice of records on government website at
summary judgment stage).
                                         3
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with Alabama law providing a backup in the event that there is no applicable body

of federal law on a particular legal or procedural point. Ex. 2 at § 31.

      7.     The Agreement contains the following condition in Section 6(a)(v) that

was subject to fulfillment at or before the closing:

             There shall not be in effect at the Closing any law,
             statute, rule, regulation, permit, certificate or binding
             order, decree or decision of any Governmental Authority
             (as defined in Section 9(a)(ii) below) restraining,
             enjoining, or otherwise prohibiting or making illegal the
             consummation of the transactions contemplated by
             this Agreement.

Ex. 2 at § 6(a)(v) (emphasis added).

The Construction Permits

      8.     The Construction Permits each state in Section 2 that “[t]he facility . . .

will be located on the applicant’s site in Jackson County, Alabama,” and “applicant”

is defined to be TVA. Ex. 1 at App. 1, § 2.

      9.     The Construction Permits each state in Section 3(B) that “[t]he facility

shall be constructed and located at the site as described in the application, in Jackson

County, Alabama.” Ex. 1 at App. 1, § 3(B).

      10.    As part of the application for the Bellefonte construction permits, TVA

included a Preliminary Safety Analysis Report (“PSAR”), and Section 2.1.2 of the

PSAR, which is entitled “Site Description,” includes this description of the site: “The



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exclusion area will be owned by the United States and in the custody of TVA.” Ex.

1 at ¶ 4 & App. 2; Ex. 4 (T. Mathews Depo.) at 220:2-5.

      11.    The exclusion area at a nuclear plant is “[t]he area surrounding the

reactor, in which the reactor licensee has the authority to determine all activities,

including exclusion or removal of personnel and property.” 10 CFR 100.3.

      12.    ND delayed until November 13, 2018, to apply to the NRC for approval

of transfer of the Construction Permits from TVA to ND; however, the NRC did not

approve the transfer on or before November 30, 2018. Doc. 1 at ¶ 14; Ex. 1 at ¶ 7.

      13.    As part of ND’s application to the NRC for approval of transfer of the

Construction Permits from TVA to ND, ND requested that the Construction Permits

be amended so that the term “Applicant” would refer to ND, not TVA,




      14.    If TVA had transferred ownership of the Bellefonte Site to ND, TVA

would have had the legal obligation as the permittee to satisfy all terms of the

Construction Permits until those permits were transferred to ND or the NRC took

some action to release TVA from the permits. Ex. 1 at ¶ 8;




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Incidental damages sought by ND

      15.    The Agreement contains the following provision in Section 35:

             IN NO EVENT SHALL EITHER PARTY BE
             LIABLE FOR ANY INDIRECT, INCIDENTAL,
             CONSEQUENTIAL, SPECIAL, PUNITIVE, OR
             EXEMPLARY DAMAGES AS A RESULT OF
             DEFAULT, VIOLATION OR BREACH OF ANY
             COVENANT, REPRESENTATION OR WARRANTY
             CONTAINED IN THIS AGREEMENT.

Ex. 2 at § 35 (emphasis added; capitalization in original).

      16.




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      17.




      18.



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      54.    ND seeks to recover damages in the amount of $18,130 for charges by

Bruce Turner for work related to efforts to get Memphis to purchase power generated

at Bellefonte (including research on political donations). Ex. 8 at 176:3-180:6 &

Depo. Ex. 168.

                 SUMMARY JUDGMENT LEGAL STANDARD

      Summary judgment is appropriate when “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). “To demonstrate that there is a genuine dispute as to a material fact that

precludes summary judgment, a party opposing a motion for summary judgment

must cite ‘to particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations, stipulations

(including those made for purposes of the motion only), admissions, interrogatory

answers, or other materials.’” Gentry v. City of Russellville, Alabama, 406 F. Supp.

3d 1231, 1236 (N.D. Ala. 2019) (quoting Fed. R. Civ. P 56(c)). A genuine dispute

of material fact exists only when “the evidence is such that a reasonable jury could

return a verdict for the non-movant.” Mote v. Moody, No. 3:17-CV-0406-LCB, 2019

WL 968862, at *1 (N.D. Ala. Feb. 28, 2019) (citation omitted). “[T]here is no issue

for trial unless there is sufficient evidence favoring the nonmoving party . . . . If the

evidence is merely colorable, or is not significantly probative, summary judgment




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may be granted.” Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-

50 (1986)).

                                   ARGUMENT

I.    TVA did not breach the Agreement because selling the Bellefonte Site to
      ND without NRC approval would have violated the Construction Permits
      and thus would have been unlawful, which means that a closing condition
      in the Agreement was not satisfied.

      TVA did not breach the Agreement because selling the Bellefonte Site to ND

without NRC approval would have been unlawful, which meant that a contractually-

required closing condition could not be satisfied. As a result, ND’s breach-of-

contract claims fail as a matter of law.

      A.      Transfer of the Bellefonte Site to ND without NRC approval would
              have been unlawful.

      TVA would have violated the Construction Permits—and thereby committed

an unlawful act—by proceeding with the closing under the Agreement.

      The NRC issued the Construction Permits pursuant to Section 103 of the

AEA, 42 U.S.C. § 2133, and 10 CFR Part 50. See supra at ¶ 3. A failure by TVA

to abide by the terms of the Construction Permits would be illegal. Indeed, the AEA

provides that “[a]ny person who . . .violates . . . any term, condition, or limitation

of any license . . . issued [under Section 103 of the AEA] . . . shall be subject to a

civil penalty, to be imposed by the [NRC], of not to exceed $100,000 for each such

violation.” 42 U.S.C. § 2282(a) (emphasis added). The AEA also provides that each

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day of a continuing violation “shall constitute a separate violation for the purpose of

computing the applicable civil penalty.” Id. 3 Consistent with the statutory provision

that any violation of any term of a license (i.e., permit) exposes the violator to civil

penalties, the NRC’s Enforcement Policy states that “[a]ll violations are subject to

consideration for civil enforcement action.” NRC Enforcement Policy at

§ 2.1, https://www.nrc.gov/docs/ML1935/ML19352E921.pdf (last accessed Sept.

22, 2020) (emphasis added).

      The Construction Permits each contain two terms that TVA would have

violated if it had sold the Bellefonte Site to ND without NRC approval. First,

Section 2 of each permit states, “The facility . . . will be located on the applicant’s

site in Jackson County, Alabama.” See supra at ¶ 8. “Applicant” is defined in each

permit to be TVA. Id. 4 Thus, if TVA had sold the Bellefonte Site to ND before the

NRC approved transfer of the Construction Permits to ND, the facility would have

been located on ND’s site, not TVA’s site, in Jackson County, Alabama. In that

circumstance, TVA would have been in violation of that term of the permits.




3
   In addition, the AEA authorizes criminal prosecution for violations of a permit.
See 42 U.S.C. §§ 2272, 2273.
4
   As part of ND’s application for NRC approval of the transfer of the Construction
Permits from TVA to ND, ND requested that NRC amend the permits so that the
term “Applicant” would refer to ND, not TVA. ND requested these changes because
ND thought it was necessary to do so. See supra at ¶ 13.
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if the closing had occurred, ND would have owned the exclusion area—a violation

of the permits and, thus, a violation of law.

      B.     Because the transfer of the Bellefonte Site without NRC approval
             would have been unlawful, a closing condition in the Agreement
             was not satisfied, so TVA did not breach the Agreement by refusing
             to close.

      Because TVA’s transfer of the Bellefonte Site without NRC approval would

have been unlawful, a closing condition in the Agreement was not satisfied, so TVA

did not breach the Agreement by refusing to close.

      “Under federal law, the plain meaning of a contract’s language governs its

interpretation.” Belize Telecom, Ltd. v. Gov’t of Belize, 528 F.3d 1298, 1307 (11th

Cir. 2008). Furthermore, “where the language of the contract is unambiguous, the

legal effect of that language is a question of law” that “may be resolved summarily.”

Orkin Exterminating Co., Inc. v. F.T.C., 849 F.2d 1354, 1360 (11th Cir. 1988).

      The Agreement contained this unambiguous condition precedent to

performance of the closing under the Agreement:

             There shall not be in effect at the Closing any law,
             statute, rule, regulation, permit, certificate or binding
             order, decree or decision of any Governmental Authority
             (as defined in Section 9(a)(ii) below) restraining,
             enjoining, or otherwise prohibiting or making illegal the
             consummation of the transactions contemplated by
             this Agreement.

Ex. 2 at § 6(a)(v) (emphasis added).


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      It is settled law that a party cannot succeed on a breach-of-contract claim if an

explicit condition precedent in the contract has not been satisfied.             Korea

Development Corp. v. United States, 9 Cl. Ct. 167, 17476 (1985); accord, e.g., Cent.

Rsrv. Life Ins. Co. v. Fox, 869 So. 2d 1124, 1127-28 (Ala. 2003) (“Ordinarily, failure

to comply with conditions precedent . . . prevents an action by the defaulting party

to enforce the contract.”); Quantum Mgmt. Grp., Ltd. v. Univ. of Chicago Hosps.,

283 F.3d 901, 906 (7th Cir. 2002) (“Where a condition precedent is not satisfied, no

breach of contract occurs for failure to perform.”); Restatement (Second) of

Contracts § 225 (1981) (“Performance of a duty subject to a condition cannot

become due unless the condition occurs or its non-occurrence is excused.”); 23

Williston on Contracts § 63:6 (4th ed.) (“Generally there can be no breach of a

promise until all the conditions qualifying it have happened or been performed.”).

      Because TVA would have been violating the Construction Permits and thus

committing an illegal act if it had transferred ownership of the Bellefonte Site to ND,

the contractual condition precedent in Section 6(a)(v) was not satisfied by the time

of closing, so TVA committed no breach of the Agreement by refusing to close.

      ND’s Complaint contains two counts seeking different forms of relief for the

same alleged breach of contract (i.e., TVA’s failure to close the sale of the Bellefonte

Site). ND requests specific performance in Count One and damages as an alternative




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in Count Three. 6 Because the failure to satisfy the closing condition means that TVA

did not breach the contract, summary judgment should be entered in TVA’s favor

on Counts One and Three.

      C.     The failure of the breach-of-contract counts as a matter of law also
             compels entry of summary judgment on ND’s remaining count
             seeking a preliminary injunction.

      Summary judgment should also be entered in TVA’s favor on Count Two,

which seeks entry of a preliminary injunction, due to the failure of the breach-of-

contract counts.




6
   “Specific performance is a remedy associated with breach of contract.” Pauma
Band of Luiseno Mission Indians of Pauma & Yuima Reservation v. California, 813
F.3d 1155, 1167 (9th Cir. 2015) (applying federal law). It is a settled law that a court
cannot order specific performance when a condition precedent to performance has
not been satisfied. See, e.g., Orazi v. BAC Home Loans Servicing, LP, 2018 WL
4266071, at *5 (D. Md. Sep. 6, 2018) (“[C]onditions precedent must be fulfilled
before specific performance can be granted.”); Brown v. Allied Home Mortg. Cap.
Corp., 2011 WL 3351532, at *3 (D. Md. Aug. 2, 2011) (“Indeed, ‘[t]he performance
of all conditions precedent is generally required before specific performance will be
granted.’”); Satellite Broad. Cable, Inc. v. Telefonica de Espana, 786 F. Supp. 1089,
1104 (D.P.R. 1992) (noting that it is “well settled law” that “[i]n the case of a
contract subject to a condition precedent, an order for specific performance does not
proceed until such time as the condition is fulfilled.”); Woodward-Parker Corp. v.
New Guar. Fed. Sav. & Loan Ass’n, 947 F.2d 947 (Table), 1991 WL 224082, at *2
(6th Cir. 1991) (“A plaintiff in a breach of contract action is only entitled to specific
performance, as a matter of law, where he shows: (1) he performed all conditions
precedent to the requested performance[.]”); Olen Real Estate & Inv. Co. v. L.A.
Zieman & Co., 110 So. 2d 890, 892 (Ala. 1959) (“[S]pecific performance of a
contract may be had in equity even though the contract contains a condition
precedent, provided such condition precedent has been fulfilled.”) (emphasis added).
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      First, the request for a preliminary injunction will be moot if this Court enters

summary judgment on the claims for breach of contract. ND sought the preliminary

injunction “to maintain the status quo prior to final judgment.” Doc. 1 at ¶ 29. A

resolution of the merits of the breach-of-contract claims on summary judgment will

obviate any further need for the injunction.

      Second, even if the request were not moot, ND as a matter of law cannot

establish that it has a substantial likelihood of success on the merits, which is one of

the prerequisites to entry of any preliminary injunction. Four Seasons Hotels and

Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th Cir. 2003). For

the reasons explained above, ND cannot succeed on the merits of its breach-of-

contract claims.

      D.     ND’s invocation of the doctrine of equitable estoppel fails as a
             matter of law.

      ND’s invocation of the doctrine of equitable estoppel (Doc. 1, ¶ 22) cannot

rescue it from entry of summary judgment against it because the doctrine does not

apply here as a matter of law for two separate and independent reasons.

      The elements of equitable estoppel are clear in the Eleventh Circuit:

             the elements of federal common law equitable estoppel in
             this circuit are: (1) the party to be estopped misrepresented
             material facts; (2) the party to be estopped was aware of
             the true facts; (3) the party to be estopped intended that the
             misrepresentation be acted on or had reason to believe the
             party asserting the estoppel would rely on it; (4) the party
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             asserting the estoppel did not know, nor should it have
             known, the true facts; and (5) the party asserting the
             estoppel reasonably and detrimentally relied on the
             misrepresentation.

Dawkins v. Fulton Cnty. Gov’t, 733 F.3d 1084, 1089 (11th Cir. 2013).

             1.    Equitable estoppel can never be employed to require a party
                   to undertake an illegal act.

      ND’s equitable estoppel argument fails as a matter of law because the doctrine

can never be employed to require a party to undertake an illegal act, but that is

exactly what ND is trying to do in this case.

      ND bases its equitable-estoppel argument on its allegation that TVA falsely

represented in the Agreement that no approval of any governmental authority would

be needed to consummate the transactions contemplated by the Agreement. (Doc. 1

at ¶ 22 (citing Ex. 2 at ¶ 7(a)(vii)). ND thus contends that TVA should be precluded

from now taking the position that it would be illegal to consummate the sale of the

Bellefonte Site under the Agreement without NRC approval. (Doc. 1 at ¶ 22). In

other words, ND is arguing that Congress’s decision to make unlawful the violation

of terms of an NRC construction permit can be disregarded based on TVA’s

representation in the Agreement.

      It is settled law, however, that equitable estoppel cannot be invoked to

override an applicable law. See Office of Pers. Mgmt. v. Richmond, 496 U.S. 414,

426 (1990) (“[J]udicial use of the equitable doctrine of estoppel cannot grant
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respondent a money remedy that Congress has not authorized.”); Thurber v. W. Conf.

of Teamsters Pension Plan, 542 F.2d 1106, 1109 (9th Cir. 1976) (“We agree with

the district court that the doctrine of estoppel may not be invoked to compel an illegal

act.”); United States v. Certain Parcels of Land, 131 F. Supp. 65, 73 (S.D. Cal. 1955)

(“Public policy demands that the mandate of the law should override any doctrine of

estoppel; so no amount of misrepresentation can prevent a party, whether citizen or

Government, from asserting as illegal that which the law declares to be such.”); see

also State Highway Dept. v. Headrick Outdoor Advert., Inc., 594 So. 2d 1202, 1205

(Ala. 1992) (“[T]he doctrine of estoppel may not authorize a city do to that which

the city had no authority to do[.]”).

      In light of these authorities, ND’s equitable estoppel argument fails as a matter

of law. It would have violated the Construction Permits, and thus been unlawful, for

TVA to proceed with the closing under the Agreement. The doctrine of equitable

estoppel cannot override applicable law.

             2.     ND cannot establish that it should not have known the true
                    facts.

      ND’s attempt to invoke equitable estoppel also fails as a matter of law for a

separate and independent reason—ND cannot establish the fourth Dawkins element

for the doctrine, namely that ND should not have known the true facts about the

applicable law. The Supreme Court held more than 70 years ago that a party cannot

rely on the representations of a government agent when those representations are
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inconsistent with applicable laws and regulations. See Fed. Crop Ins. Corp. v.

Merrill, 332 U.S. 380, 384 (1947). The Supreme Court based its conclusion on the

fundamental premise that “everyone is charged with knowledge of the United States

Statutes at Large” and with knowledge of the “rules and regulations in the Federal

Register.” Id. at 384-85. According to the Supreme Court, “anyone entering into an

arrangement with the Government takes the risk of having accurately ascertained

that he who purports to act for the Government stays within the bounds of his

authority.” Id. at 384; see also United States v. Vonderau, 837 F.2d 1540, 1541 (11th

Cir. 1988) (“The government cannot be estopped by the action of its agent when that

agent acts without authority or contrary to law.”).

      In light of this settled precedent, ND as a matter of law cannot establish that

it should not have known the true facts that TVA would have been violating the

Construction Permits if the NRC did not approve the transfer of the Construction

Permits before closing. As a result, ND cannot invoke the doctrine of equitable

estoppel for this additional reason.

                                        ***

      In sum, summary judgment should be entered in TVA’s favor on all three

counts of ND’s Complaint. Because the condition precedent in the Agreement was

not satisfied due to the violation of the Construction Permits that would have

occurred if TVA had transferred the Bellefonte Site to ND without NRC approval,

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TVA did not commit a breach of contract. Without a breach of contract by TVA, all

counts in ND’s Complaint fail as a matter of law.

II.   The Agreement prohibits the parties from recovering incidental
      damages, so summary judgment should be entered in TVA’s favor
      concerning ND’s request for incidental damages.

      If the Court enters summary judgment in TVA’s favor on the merits, this Court

need not address the remaining damages-related aspects of this summary judgment

motion.

      The Agreement prohibits the parties from recovering incidental damages for

“breach of any covenant” in the Agreement. See supra at ¶ 15. A “breach of

covenant” is “[t]he violation of an express or implied promise, usu[ally] in a contract,

either to do or not to do an act.” Black’s Law Dictionary (11th ed. 2019).

      Because ND is seeking incidental reliance damages for TVA’s allege breach

of its express promise in the Agreement to consummate the sale of the Bellefonte

Site (Doc. 1 at ¶ 33), summary judgment should be entered in TVA’s favor

concerning ND’s request for millions in incidental damages.

      Under federal common law, “incidental reliance damages” compensate the

plaintiff for expenses incurred in “‘preparation for collateral transactions that a party

plans to carry out when the contract … is performed.’” American Cap. Corp. v.

United States, 63 Fed. Cl. 637, 653 (2005) (quoting Restatement (Second) of

Contracts § 349 cmt. a); accord Stovall v. United States, 94 Fed. Cl. 336, 353 (2010);

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Old Stone Corp. v. United States, 63 Fed. Cl. 65, 79 (2004), aff’d in part, rev’d in

part, 450 F.3d 1360 (Fed. Cir. 2006); Caroline Hunt Tr. Estate v. United States, 65

Fed. Cl. 271, 299 (2005), aff’d in part, rev’d in part and remanded, 470 F.3d 1044

(Fed. Cir. 2006).

      ND seeks “recovery against TVA for all damages arising out of TVA’s breach

[of the Agreement],” including “reimbursement of millions dollars in engineering,

consulting, and regulatory costs paid by [ND] in reliance on closing the transaction.”

Doc. 1 at p. 12 (emphasis added). But ND is not entitled to all damages. In the

Agreement, ND agreed that it could not recover indirect, incidental, consequential,

special, punitive, or exemplary damages. See supra at ¶ 15.

      ND nonetheless improperly seeks millions of dollars for incidental reliance

damages—charges ND incurred to prepare to move forward with the Bellefonte

project after closing.




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                                                                 Under the controlling

federal common law, all of these amounts are incidental reliance damages. Because

the parties agreed in the Agreement that incidental damages cannot be recovered,

this Court should enter summary judgment indicating that ND cannot recover them.

   III.     ND cannot recover its attorneys’ fees, so summary judgment should
            be entered in TVA’s favor as to those requested damages.

      ND cannot recover its attorneys’ fees, so summary judgment should be

entered in TVA’s favor as to those requested damages. As the United States

Supreme Court has explained, “[o]ur basic point of reference when considering the

award of attorney’s fees is the bedrock principle known as the American Rule: Each

litigant pays his own attorney’s fees, win or lose, unless a statute or contract provides

otherwise.” Baker Botts L.L.P. v. ASARCO LLC, 576 U.S. 121, 126 (2015).

      In this case, ND has asserted no statutory entitlement to attorneys’ fees, nor

does the Agreement contain a fee-shifting provision. While the Agreement allows

the prevailing party in a court proceeding between ND and TVA to recover “court

costs,” Ex. 2 at § 33(i), court costs do not include attorneys’ fees under applicable

law. “[U]nder our system of law, unlike the English system, taxable costs do not

include attorney’s fees or counsel fees.” Rodulfa v. United States, 295 F. Supp. 28,

29 (D.D.C. 1969); see also Ex parte Habeb, 100 So. 3d 1086, 1089 (Ala. Civ. App.

2012) (“Under Alabama law, costs do not include attorney fees.”). Simply put,
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“[t]he absence of any mention of attorneys’ fees” in the Agreement is “fatal to

[ND’s] claim for attorneys’ fees.” Precision Pine & Timber, Inc. v. United States,

63 Fed. Cl. 122, 141 (2004).

      This Court should enter summary judgment in TVA’s favor concerning ND’s

request for attorneys’ fees.

                                CONCLUSION

      Based on the foregoing, this Court should enter summary judgment in TVA’s

favor as to all claims asserted by ND. In the alternative, this Court should enter

summary judgment in TVA’s favor as to ND’s request to recover incidental damages

and attorney’s fees.



                                     Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 23, 2020, a true and correct copy of the
foregoing was filed electronically with the Clerk of Court using the CM/ECF system,
which will send electronic notification of such filing to all counsel of record:

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